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 1   SIRI & GLIMSTAD LLP
     Aaron Siri (Pro Hac Vice To Be Filed)
 2
     Email: aaron@sirillp.com
 3   Elizabeth A. Brehm (Pro Hac Vice To Be Filed)
     Email: ebrehm@sirillp.com
 4
     200 Park Avenue
 5   Seventeenth Floor
     New York, NY 10166
 6
     Telephone: 212-532-1091
 7   Facsimile: 646-417-5967
 8
     Caroline Tucker (SBN 261377)
 9   Email: ctucker@sirillp.com
10   700 S. Flower Street, Suite 1000
     Los Angeles, CA 90017
11   Telephone 213-376-3739
12   Facsimile 646-417-5967

13   CHRIS WIEST ATTORNEY AT LAW, PLLC
14   Chris Wiest (Pro Hac Vice To Be Filed)
     Email: chris@cwiestlaw.com
15   25 Town Center Blvd, STE 104
16   Crestview Hills, KY 41017
     Telephone: 513-257-1895
17   Facsimile: 859-495-0803
18
     Attorneys for Plaintiff
19   AARON KHERIATY, M.D.
20
                             UNITED STATES DISTRICT COURT
21
                            CENTRAL DISTRICT OF CALIFORNIA
22
                                     SOUTHERN DIVISION
23
24    AARON KHERIATY, M.D.,                          Case No.: 8:21-cv-01367 JVS (KESx)
25
                                   Plaintiff,        DECLARATION OF PLAINTIFF
26    v.                                             AARON KHERIATY, M.D. IN
27
28                                               1
     __________________________________________________________________________________
           DECLARATION OF PLAINTIFF AARON KHERIATY, M.D.
                                       PRELIMINARY INJUNCTION
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 1    THE REGENTS OF THE UNIVERSITY MOTION FOR PRELIMINARY
      OF CALIFORNIA, a corporation, et al., INJUNCTION
 2
 3                                 Defendants.
                                                     Date: September 27, 2021
 4                                                   Time: 1:30 pm
                                                     Place: Courtroom 10C
 5
                                                     Judge: Hon. James V. Selna
 6
 7          I, Aaron Kheriaty, declare as follows:
 8
 9   1.     I am at least 18 years of age and am competent to testify. I have personal
10   knowledge of the statements contained in this declaration.
11   2.     I had SARS-CoV-2 which was confirmed by a PCR test on July 8, 2020. Attached
12   to this declaration as Exhibit A is a true and correct copy of the laboratory confirmation
13   of my SARS-CoV-2 infection. My symptoms began on July 3, 2020. I suffered mild to
14   moderate symptoms which included cough, fever, fatigue, myalgia, headache, sore throat,
15   congestion, nausea, and vomiting. This was followed by loss of my taste and smell for
16   12 days. I have since fully recovered.
17   3.                                       UC
18
19   by ensuring that individuals who return to campus have immunity to the virus that causes
20   COVID-19. This policy mandates COVID-
21   locations and programs. Attached to this declaration as Exhibit B is a true and correct
22   copy of the mandate.
23   4.     If I am not permitted on campus as a result of this mandate, my practice and roles
24   at UC will be drastically and adversely affected, including in the following ways:
25              a. I will not be able to attend in-person meetings with my team or with patients
26                 and families in the hospital and so my role as ethics committee chair and
27                 director of the ethics consult service will be impacted;
28                                                  2
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 1              b. I will not be able to hold my Monday and Tuesday afternoon Resident
 2                 Clinic;
 3              c. I will not be able to see my own patients from my practice as my faculty
 4                 practice is located at the Department of Psychiatry clinic;
 5              d. I will not be able to do my Resident in-person teaching;
 6              e. I will not be able to do on-site ethics consultations in the hospital;
 7              f. I will not be able to teach the Ethics and Behavioral Science course for first-
 8                 and second-year medical students.
 9   BASIS FOR MY OPINIONS
10
11 5.       In addition to serving as the plaintiff in this matter, I am offering as an expert
12                                                                                            -19
13   vaccine policy. The opinions I express herein are based upon my medical education,
14   training, research, and over 16 years of clinical experience as a physician and bioethicist,
15   as well as my familiarity with the medical and bioethics literature. These opinions are
16   my own and (obviously) do not represent those of the institutions with which I am
17   affiliated.
18   PROFESSIONAL BACKGROUND AND EXPERIENCE
19
20   6.     I received my M.D. degree from Georgetown University School of Medicine in
21   2003. I completed my residency training in psychiatry at the University of California,
22                                            have been a board-certified psychiatrist. In 2007,
23   I was hired by UCI as a Health Sciences Assistant Clinical Professor. In, 2013, I was
24   promoted to Health Sciences Associate Clinical Professor and in 2019, I was promoted
25   again to Health Sciences Clinical Professor.
26   7.     I am currently Health Sciences Clinical Professor of Psychiatry and Human
27   Behavior at University of California Irvine School of Medicine. I have served as
28                                                 3
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 1   chairman of the Medical Ethics Committee and Director of the Ethics Consultation
 2   Service at UCI Health since 2008, as well as Director of the Medical Ethics Program at
 3   UCI School of Medicine since 2013. I direct the required course in ethics and behavioral
 4   science for medical students at UCI. I also serve as chair of the statewide Bioethics
 5   Committee at the California Department of State Hospitals. I have also served as Director
 6   of Medical Education in the UCI Department of Psychiatry since 2007.
 7   8.     In my capacity as Ethics Committee Chair and director of the Ethics Consult
 8   Service at UCI Health, and chair of the statewide Bioethics Committee at the CA
 9   Department of State Hospitals, I have conducted thousands of ethics consultations on
10   complex clinical cases. A large proportion of these cases involve ethical and clinical
11   questions related to informed consent and patient decision-making capacity.           This
12   experience is relevant to my expertise regarding the professional judgments and opinions
13   provided in this declaration. As a medical ethicist I also rely on knowledge of ethical
14   guidelines, landmark court cases, legal standards for informed consent, and familiarity
15   with the relevant research literature.
16   9.     I have done extensive work on Covid-19-related public policy since the pandemic
17   began. I am a member of the UC Office of the President (UCOP) Critical Care Bioethics
18
19   policies, including, (1) Allocation of Scarce Critical Resources under Crisis Standards of
20   Care, which is guidance for all UC Health hospitals in the allocation of ventilators during
21   the Covid-19 pandemic; (2) Allocation Guidelines for Remdesivir if Demand Outstrips
22   Supply, and (3) Covid-19 Vaccine Allocation Institutional Guidelines. Since 2020 I have
23   also served as a consultant to the California Department of Public Health on their
24   allocation of Bamlanivimab during Covid-19 pandemic and on the California SARS-
25   CoV-2 Pandemic Crisis Care Guidelines. I am also a member of the Covid-19 Vaccine
26   Task Force for the County of Orange Healthcare Agency.
27
28                                               4
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 1   10.      For a complete listing of my professional background, experience, research,
 2   responsibilities, and publications, please see my Curriculum Vitae, which is attached to
 3   this declaration as Exhibit C.
 4   SUMMARY OF OPINIONS
 5
 6   11.      In my professional opinion, the UC vaccine policy violates the principles of
 7   medical ethics in unnecessarily mandating vaccination for individuals who have
 8   recovered from COVID-19. Extensive scientific data demonstrates that such individuals
 9   have robust immunity as a result of having been exposed to the SARS-CoV-2 virus and
10   may suffer worse adverse effects after vaccination than individuals not previously
11   exposed to the virus. The evidence shows the infection caused by the SARS-CoV-2 virus
12   in humans produces complete and durable immunity, and natural immunity induced by
13   the virus is comparable to or better than vaccination-induced immunity. In unnecessarily
14   and unjustifiably mandating vaccination of this population, the policy subjects these
15   individuals to unnecessary risks without commensurate benefit, either to the individuals
16   or the community as a whole. In its refusal to recognize natural immunity, the UC
17   Vaccine Policy violates the fundamental tenants of medical ethics and lacks a rational
18   basis.
19   OPINIONS
20
21   12.      The scientific research literature on Covid-19 demonstrates the strength of natural
22   immunity following a SARS-CoV-2 infection, the robust extent of preexisting immunity
23   to the SARS-CoV-2 virus, and the growing number of reported serious harms as a
24   consequence of receiving the Covid-19 vaccine after a SARS-CoV-2 infection.
25   13.      As explained by Dr. Ryan Cole, a Mayo Clinic-
26   antibody levels drop over time, however, scientifically, the memory B cells that make
27
28                                                 5
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 1   antibodies have been prov                                                          1
                                                                                            Dr.
 2
 3
 4   antibody levels to all the pathogens we are constantly exposed to, and we would look like
 5                       -
 6                                      2


 7   14.       In my professional opinion, the Complaint is accurate in its summary of the
 8   scientific and medical research on these issues.
 9                  a.
10
11   15.       While vaccinating Covid-19-recovered patients might produce an antibody
12   uptick,3 there is no epidemiological evidence that this improves relevant clinical
13   outcomes like symptomatic reinfection or transmissibility. Previous infection can easily
14
15   a positive viral test from another provider or an antibody test, which would prove either
16   natural immunity or vaccination.
17   16.                                           -19- recovered individuals receive a Covid-
18   19 vaccine violates basic principles of medical ethics. Even if the vaccines receive full
19   FDA approval, no sensible understanding of herd immunity can justify forcing
20   vaccinations on those who have already had Covid-19. There is no evidence that
21   vaccinating Covid-19-recovered individuals benefits others through reduced viral
22
23   1
         https://www.theblaze.com/op-ed/horowitz-israeli-government-data-shows-natural-
24   immunity-from-infection-much-stronger-than-vaccine-induced-immunity.
25   2
         Id.
     3
26                                                                                      -
     CoV-                                                            https://www.biorxiv.
27
     org/content/10.1101/2021.05.07.443175v1.abstract accessed 16 July 2021.
28                                           6
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  1   transmission and, in fact, the evidence is that it does not prevent viral infection and
  2   transmission. But even assuming that it did, that would use the recipients as a means to
  3   another end, which is unethical.
  4   17.     Consider the analogy of nontherapeutic research, from which the research subject
  5   does not stand to benefit directly. The central canon of medical ethics in this situation is
  6   the free and informed consent of the research subject, as articulated in the Nuremberg
  7   Code and the Helsinki Declaration. Informed consent is likewise required for medical
  8   decisions in all adults of sound mind. This is arguably the most deeply rooted doctrine
  9   in contemporary medical ethics. A person may freely choose to accept medical risks for
 10   the benefit of others, as when one donates a kidney for transplant. But there is no moral
 11   duty to do so. This is why we do not harvest organs without consent, even if doing so
 12   would save many lives. Those who make such sacrifices for others must truly be
 13   volunteers, not conscripts drafted by college administrators.
 14   18.     University leaders might claim that vaccine mandates are necessary to make
 15
 16   specious. Requiring the naturally immune to be vaccinated does not make anyone actually
 17   safer. It is wrong to risk harming healthy people so that UC can peddle a psychological
 18   placebo to those who have not considered basic scientific facts.
 19                  b. Mandating Vaccination for a Population in which Vaccines Present
 20                     Risks with No Benefit is Unethical
 21
 22   19.     There is ample scientific evidence that natural immunity of Covid-19-recovered
 23   individuals is as good, and very likely superior, to vaccine-mediated immunity. In an
 24   email sent to the UCI School of Medicine on July 17, 2021, the Associate Dean of
 25
 26   substantial increase in the number of breakthrough infections among our UCI health care
 27   workers, including residents and fellows (fully vaccinat
 28                                                7
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  1   correct copy of this July 17, 2021, email is attached hereto and incorporated herein as
  2   Exhibit D. In an email sent to Medical Directors at UCI Health on July 22, 2021, CEO
  3                                               -19 delta variant is now responsible for the
  4   majority (75%) of OC cases, including several breakthrough vaccine cases
  5   correct copy of this July 22, 2021, email is attached hereto and incorporated herein as
  6   Exhibit E (emphasis added).      A July 27, 2021 email sent to course directors at UCI
  7                                                                                              -
  8   19, even among vaccinated individuals, we will not be returning to the classrooms as had
  9                                                        and correct copy of this July 27, 2021
 10   email is attached hereto and incorporated herein as Exhibit F. By contrast, but there has
 11   been no such notice of increasing cases among those who have recovered from Covid-
 12   19. This indicates that there is a material number of vaccinated individuals that are still
 13   acquiring symptomatic Covid-19, such that notice to the entire system about this issue
 14   was warranted, while no such notice has been necessary for the naturally immune.
 15   20.     In recent months, new data has raised concerns about the safety profile of the
 16   Covid-19 vaccines, with adverse events reported that were not apparent in the smaller
 17   clinical trials preceding FDA Emergency Use Authorization of three Covid-19 vaccines.
 18   Historically, the full safety profile of medications and vaccines may not but fully apparent
 19   until they are widely deployed in large populations. To mention just two recent examples,
 20   rofecoxib (Vioxx) was found to increase the risk of heart attack and stroke, side effects
 21   that did not manifest in the smaller clinical trials used for FDA approval.
 22   21.     Likewise, an influenza vaccine used in the 2009 swine flu epidemic, after it was
 23   rolled out in several European countries, was found to cause febrile convulsions and
 24   narcolepsy in children.4 This kind of real-world evidence is often necessary, as clinical
 25
 26
      4
 27
                                                  https://www.cdc.gov/vaccinesafety/concerns/
 28                                               8
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  1   trials frequently enroll patients who are not fully representative of the general population
  2   and deploy smaller numbers of people overall. Relevant to this case, the clinical trials for
  3   the Covid vaccines which received Emergency Use Authorization deliberately excluded
  4   Covid-recovered patients. We often gain valuable data about drug safety from real-world
  5   evidence, which then leads us to adjust clinical recommendations to balance risk and
  6   benefits.
  7   22.                                                      VAERS
  8                                                             CDC
  9                      FDA                                                               events
 10   that happen after receiving a vaccine. The FDA and CDC acknowledge that the database
 11   is not designed to determine whether the events were caused by a vaccine; however, the
 12   data can nonetheless act as an important signal for safety concerns that require additional
 13   evaluation.
 14   23.     The VAERS data for Covid-19 vaccines, as well as data from similar European
 15   databases for passive monitoring of vaccine safety, demonstrate patterns of significant
 16   concern. Several adverse events have been reported at high rates in the days immediately
 17   after Covid-19 vaccination, and then fall precipitously afterward. Granted, these adverse
 18   events might have occurred without vaccination, and the database alone cannot determine
 19   what would have happened in the absence of vaccination. However, the large clustering
 20   of several adverse events immediately after vaccination is concerning, as this pattern
 21   typically suggests causal connections.
 22   24.     Several serious adverse events follow this pattern in VAERS, including
 23   thrombocytopenia (low platelets) especially among females, noninfectious myocarditis
 24   (heart inflammation), especially for males under 30, deep-vein thrombosis (clots), and
 25
 26
 27
       history/narcolepsy-flu.html.
 28                                                9
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 1   most concerning, an increased reporting rate of deaths. Population based research has not
 2   yet been conducted to determine the actual rates of these and other serious adverse events.
 3   25.      The underreporting to VAERS of anaphylaxis following COVID-19 vaccination is
 4   instructive. A three-year federal government funded study by Harvard Medical School
 5   which tracked 715,00
 6                                                  5
                                                        So the actual number of adverse events due
 7   to the Covid-19 vaccines is most likely considerably higher. According to the CDC,
 8       Anaphylaxis after COVID-19 vaccination is rare and occurred in approximately 2 to 5
 9   people per million vaccinated in the United States based on events reported to              6


10   This is in stark contrast to a recent study at Mass General Brigham that assessed
11   anaphylaxis in a clinical setting after the administration of COVID-19 vaccines and found
12                                                                               2.47 per 10,000
13   vaccinations     7


14   26.      The implication is that we have reason to believe the risks of a Covid-19 vaccine
15   may outweigh the benefits for certain low-risk populations, including individuals who
16   have recovered from Covid-19 infection. It is entirely reasonable, given these concerns,
17   for a Covid-recovered person to decline vaccination. But this is precisely what the
18   coercive UC vaccine policy does not permit.
19
20
21
22
23
24
     5
          https://digital.ahrq.gov/sites/default/files/docs/publication/r18hs017045-lazarus-final-
25       report-2011.pdf.
26   6
         https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/adverse-events.html.
27   7
         https://jamanetwork.com/journals/jama/fullarticle/2777417.
28                                               10
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 1                  c.
 2                       and Not Grounded in Sound Medical Criteria, Presenting
 3                       Unjustifiable Risks
 4
 5   27.      Defenders of the UC vaccine policy might respond that provision is made for
 6   individuals who wish to refuse vaccination by means of the medical exemptions
 7   permitted in the vaccine policy. However, the narrow scope of these medical exemptions
 8   is unjust and dangerous: the exemptions are so medically unsound and unduly restrictive
 9   that they create a clear and present danger to the health of those subject to these mandates.
10   28.      The scientific data demonstrates that the natural immunity acquired by previous
11   Covid-19 infection is at least as durable and effective as that provided by the vaccines.
12   The data also shows that those who possess this natural immunity present no greater risk
13   of transmitting the virus to others than those who have been vaccinated. The UC justifies
14   its mandate by claiming this is the only effective way to maintain a safe campus
15   environment.        But jabbing students who are already immune contributes nothing
16   whatsoever to campus safety. All that it does, medically speaking, is create danger.
17   29.      Several published studies suggest, moreover, a significantly increased risk of
18   adverse reactions to the vaccine among those previously infected. 8 There is no reason to
19   put the thousands of UC faculty, staff, and students who possess natural immunity in such
20   danger.
21
22   8
         Cf. for example, Mathioudakis AG, Ghrew M, Ustianowski A, et al. Self-Reported
23       Real-World Safety and Reactogenicity of COVID-19 Vaccines: A Vaccine Recipient
         Survey.     Life   (Basel).  2021;11(3):249.  Published    2021    Mar     17.
24       doi:10.3390/life11030249.
25         Previous COVID-19 infection but not Long-COVID is associated with increased
26         adverse events following BNT162b2/Pfizer vaccination Rachael K. Raw, Clive Kelly,
           Jon Rees, Caroline Wroe, David R. Chadwick. medRxiv 2021.04.15.21252192; doi:
27         https://doi.org/10.1101/2021.04.15.21252192.
28                                               11
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 1   30.
 2   as if they constitute medical advice applicable in every case. They do not. Though this
 3   may come as a surprise to many, the CDC is not a medical institution; it is a public health
 4
 5
 6                                                                                 port to offer
 7   professional medical opinions applicable to specific patients. From time to time, the CDC
 8   offers findings and recommendations that competent medical practitioners may consider
 9   in arriving at a professional medical judgment for a particular patient. In this respect,
10   CDC guidelines are analogous to guidelines from other public health associations or
11   medical societies: they are guidelines, not prescriptions.
12   31.      The UC vaccine policy is unsound not just because it follows various CDC
13   recommendations as if these constitute sound individualized medical advice for every
14   patient. It is going all-in on the mistaken conception of the CDC as a super-doctor. The
15   policy
16
17   however, for doing so, especially since (again) the CDC does not practice medicine. The
18                of contraindications was never meant to be comprehensive or exhaustive, but
19   merely representative of the most common situations in which caution is warranted.
20   32.      For individual patients, physicians have always been granted wide discretionary
21   latitude and appropriate room for clinical judgment, to apply general guidelines and other
22   relevant sources of medical information to the unique needs and circumstances of
23   particular patients. Any physician could find that there are many additional medically
24   reasonable bases for the current Covid-19 vaccines to be contraindicated in a particular
25   case.
26   33.
27   anaphylactic allergic reactions or other severe adverse reactions to any Covid-19
28                                               12
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 1   vaccine     e.g., cardiovascular changes, respiratory distress, or history of treatment with
 2   epinephrine or emergency medical attention to control symptoms. At first glance this
 3   appears to be an entirely sensible provision, but upon closer examination we see that it
 4   presents a risk. A severe reaction to a first vaccine shot indicates the second shot should
 5   be delayed, and possibly declined altogether. But the danger arises from this criterion
 6   when viewed in connection with the unjustifiably narrow limitations on exemptions
 7   overall, as described above. The purpose of any exceptions for a vaccine is to avoid or
 8   reduce the risk of allergic or other serious reactions in the first place. One should not
 9   have to actually experience a serious adverse reaction or anaphylaxis prior to being
10   excused from taking the vaccine, if a physician has already determined that one may be
11   at enhanced risks for serious adverse effects based upon an individualized medical
12   evaluation.
13   34.     Doctors and patients make these determinations routinely by considering the
14              entire medical history, family history, all of the active ingredients in the drug,
15
16   overall benefits and perils of getting vaccinated   or not. As the UC vaccine policy shows,
17   however, all this is deemed irrelevant when it comes to Covid-19 vaccines. For Covid-
18   19 and this alone, the exceptions in the Policy amounts to a Catch-22: it effectively
19   requires getting an initial dose and having a reaction that could potentially provide the
20   data needed to be exempt from taking the vaccine again.
21                  d.
22
23   35.     The notion that some Covid-recovered individuals may harm others by not getting
24   the Covid-19 vaccine is also not grounded in sound ethical reasoning or empirical
25
26
27
28                                                13
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 1   evidence. But even if we posit a theoretical benefit in this regard      in the absence of any
 2   scientific data to support this   the argument still does not hold up.
 3   36.     The notion that such individuals who refuse the Covid-19 vaccine are harming
 4   vulnerable individuals mischaracterizes the situation. This might be true of something
 5   like    hand hygiene,   for   washing     my    hands   does    not   involve     a   medical
 6   intervention with attendant risks. All that we know with reasonable certainty with regard
 7   to the Covid-19 vaccine is that it provides some protection to the vaccinated person from
 8   serious symptoms of Covid-19, at least in the short-term. But the vaccines, according to
 9   the CDC, do not prevent infection and viral transmission.
10   37.     This means that those who judge themselves especially vulnerable to the disease
11   can pursue voluntary vaccination. Other individuals can also certainly choose to accept
12   medical risks only (or primarily) for the benefit of others, but one is under no obligation
13   or duty to do so. This is why we would never harvest organs from persons without
14   their consent    even if by doing so we could save many lives. Organ donation must be
15   a                                                                     that is, an act that goes
16   above and beyond what is required by duty or justice.
17   38.     Many seem to have accepted the notion that everyone is required to do everything
18   in our power to reduce the risk of Covid-19 for ourselves and others. But we take
19   calculated risks all
20   our lives. For example, we know with statistical certainty that thousands will die every
21   year in motor vehicle accidents; and we know with statistical certainty that we could save
22   every one of those lives by lowering the speed limit on every road to 15 miles per hour.
23   The fact that we do not do so does not mean we intend the death of all those people, nor
24                                           that we are guilty of negligence or manslaughter.
25   Applying this analogy to individual rather than public policy decisions, one could lower
26   the risk of injury or death to fellow citizens on the road by driving a Mini Cooper or a
27   Fiat rather than a Hummer or an Escalade, since a smaller car is statistically less likely to
28                                                  14
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 1   harm others in the event of a collision. But one is under no moral obligation to drive a
 2   smaller car for the sake of this risk reduction to others. To mention one more medical
 3   example, in 2020 in the U.S. we had twice as many deaths from cardiovascular disease
 4   (691K) as deaths [with] Covid (345K). Coercive public health mandates would save
 5   thousands of lives by coercively enforcing a Mediterranean diet and daily exercise to
 6   bring down cardiovascular deaths. Of course, such measures in the name of public health
 7   would not be justifiable, though they would arguably be less of a bodily intrusion than a
 8   mandated vaccine injection.
 9                  e. Conclusion
10
11   39.     I am frustrated and negatively impacted by the prospect of being forced to allow
12   an invasion of the integrity of my body or be banned from continuing my employment at
13   UCI.
14   40.     In summary, there is no medical or ethical justification for mandating Covid
15   vaccines for Covid-recovered individuals.        We must maintain our integrity under
16   pressure. It is precisely in dire situations, such as wars or pandemics, that we are most
17   sorely tempted to abandon ethical principles.        Authorities rushing to implement
18   mandatory vaccination protocols are ignoring available scientific data, basic principles
19   of immunology, and elementary ethical norms. Even if some sincerely think that these
20   regimes are needed to open safely, that belief neither makes it so nor justifies coercive
21   policies that steamroll fundamental liberties.
22   41.                                  refusing to recognize the value of natural immunity,
23   unjustly discriminates against Covid-recovered patients, subjecting them to unnecessary
24   risks without commensurate benefits, either to themselves or others. In doing so, the
25   policy violates basic tenants of medical ethics, defies logical reasoning, and, as I am
26   advised by my lawyers, violates the equal protection of all citizens as guaranteed by the
                        th
27                           Amendment.
28                                               15
     __________________________________________________________________________________
           DECLARATION OF PLAINTIFF AARON KHERIATY, M.D.
                                       PRELIMINARY INJUNCTION
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University of California –Policy



Policy: SARS-CoV-2 (COVID-19)
Vaccination Program
                                Provost & Executive Vice President for Academic Affairs
                                (Campuses, ANR, Labs)
                                Executive Vice President – University of California
                                Health (UC Health)
                                Executive Vice President and Chief Operating Officer
          Responsible Officers: (Campuses, ANR, Labs)
                                Academic Affairs
                                University of California Health (UCH)
           Responsible Offices: University of California Operations (UCO)
                                December 14, 2020
                Issuance Date: Last Updated July 15, 2021

                     Effective Date: July 15, 2021

                Last Review Date: July 15, 2021

                                        All University of California locations and faculty, academic
                                 Scope: personnel, staff, trainees, students, and others accessing
                                        University facilities and programs.



                        UC Health                                             Campuses, ANR, Labs
        Contact:        Anne Foster, MD                                       Amina Assefa
           Title:       Chief Clinical Officer                                Director, Emergency Management
          Email:        Anne.Foster@ucop.edu                                  Amina.Assefa@ucop.edu
         Phone:         (510) 987-0306                                        (510) 987-9594



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University of California – Policy
SARS-CoV-2 (COVID-19) Vaccination Program

I.    POLICY SUMMARY
The purpose of this policy is to facilitate protection of the health and safety of the
University community, including its patients as well as its Students, Trainees, Personnel
and all others who work, live, and/or learn in any of the University’s locations or otherwise
participate in person in University Programs.
The University strongly recommends that all members of the University community obtain
the COVID-19 vaccine as soon as they are eligible. In addition, this policy provides for a
COVID-19 Vaccination Program under which any Covered Individual is required, subject
to limited deferrals, exceptions, and associated non-pharmaceutical interventions, to be
fully vaccinated against COVID-19 before physically accessing the University’s Locations
and Programs. This policy further provides that Locations must begin collecting proof of
vaccination and processing requests for Exceptions and Deferrals for all Covered
Individuals no later than July 15, 2021, to facilitate fall planning efforts.

II.   DEFINITIONS
Covered Individuals: A Covered Individual includes anyone designated as Personnel,
Students, or Trainees under this Policy who physically access a University Facility or
Program in connection with their employment, appointment, or education/training. A
person accessing a Healthcare Location as a patient, or an art, athletics, entertainment,
or other publicly accessible venue at a Location as a member of the public, is not a
Covered Individual.
Covered Non-Affiliates: A Covered Non-Affiliate is a person who accesses a University
Facility or Program as a Non-Affiliate (other than as an “official volunteer”) under the
Regulations Governing Conduct of Non-Affiliates in the Buildings and on the Grounds of
the University of California.
Contraindications and Precautions: A contraindication or precaution to COVID-19
vaccination recognized by the U.S. Centers for Disease Control and Prevention (CDC), or
by the vaccine’s manufacturer, as based on a condition in the potential vaccine recipient
that may increase the risk for a serious adverse reaction to the vaccine, may cause
diagnostic confusion if the vaccine is administered, or may compromise the ability of the
vaccine to produce immunity. Contraindications and Precautions are limited and do not
include conditions that are unrelated to vaccines or injectable therapies, such as food,
pet, venom, or environmental allergies, or allergies to oral medications.
COVID-19 Vaccination Program or Program: A set of rules governing Physical
Presence at University Locations or in University Programs intended to reduce the
incidence of SARS-CoV-2 infection and resultant COVID-19 disease, disability, and death
in connection with University Facilities or Programs.
Deferral: An approved deferral of vaccination based on pregnancy. Pregnancy Deferral
will extend throughout the term of the pregnancy and until the Covered Individual returns
to work or instruction, as applicable.


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Disability: A physical or mental disorder or condition that limits a major life activity and
any other condition recognized as a disability under applicable law. “Disability” includes
pregnancy, childbirth, or a related medical condition where reasonable accommodation is
medically advisable.
Exception: An approved exception to COVID-19 vaccination based on a Medical
Exemption, Disability, or Religious Objection. For purposes of this policy, a person who is
pregnant is not eligible on that basis alone for an Exception, but is eligible for a Deferral
for the duration of pregnancy.
Fully Vaccinated: A person is considered “fully” vaccinated when two weeks have
passed since they completed a COVID-19 Vaccine series (for example, 1 dose of the
Janssen/J&J vaccine, or 2 doses within no more than 12 weeks of the Moderna or Pfizer
vaccine); as well as any boosters consistent with manufacturer instructions and applicable
agency approval, authorization, or listing.
Healthcare Location: A collection of buildings and Personnel that service an academic
health system including hospitals, ambulatory surgery centers, outpatient centers, clinics,
or other locations where preventive, diagnostic, therapeutic, or other interventional
physical or behavioral healthcare services are provided to UC Health patients,
employees, or research participants and any associated educational, research, or
administrative facilities and offices. A Healthcare Location refers only to that part of a
campus that meets this definition and does not include student health and counseling
centers.
Implementation Date: The deadline for initial implementation of the Program, which is
two (2) weeks before the first day of instruction at any University campus or school for the
Fall 2021. For locations that do not operate on an academic calendar (e.g., UCOP, ANR,
medical centers, national laboratories), the deadline is September 1, 2021. For new
employees whose first date of employment is later, the deadline is 8 weeks after the first
date of employment. For students starting or returning to campus after Fall 2021, the
deadline is the first date of instruction for the term when they first enroll.
Location (or Facility): Any United States campus, medical center, or facility operated by
the University in connection with its research, teaching, or public service (including clinical
care) missions or programs, including University housing. A Location does not include a
property owned by the University but leased to a third party unless (and only to the
extent) a University Program occurs at that site.
Location Vaccine Authority (LVA): The office or person responsible for implementing
the COVID-19 Vaccination Program for a Location, typically the Chief Medical Officer or
Occupational Health office at a Medical Center or an Occupational Health or Student
Health office at an academic campus. The LVA is a health care provider and its records
are considered confidential health records for purposes of the University’s privacy
policies.
Medical Exemption: An excuse from receiving COVID-19 vaccine due to a Medical
Contraindication or Precaution.



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SARS-CoV-2 (COVID-19) Vaccination Program

Non-Pharmaceutical Intervention (NPI): An action, other than getting vaccinated or
taking medicine, that members of the University community can take to help prevent or
slow the spread of COVID-19 and other contagious illnesses. NPIs include, for example,
staying home, especially when a person is sick or when a member of the person’s family
or household is sick; quarantining when an unvaccinated person has been exposed to
someone else with the illness; avoiding large gatherings; physical/social distancing;
wearing personal protective equipment or face coverings; frequent handwashing and
cleaning; and asymptomatic (surveillance) and symptomatic testing.
Participation: Participation in the COVID-19 Vaccination Program (by providing proof of
vaccination or obtaining an approved Exception or Deferral under this policy).
Participation is a condition of Physical Presence at any University Location or Program as
set forth in this policy. For Covered Individuals who must be vaccinated under this policy,
Participation compliance will require repeat vaccinations or boosters on an annual or
recurring basis consistent with FDA-approved labeling and CDC recommendations.
Personnel: University faculty, other academic appointees, and staff, including but not
limited to visiting, volunteer, without salary, and emeritus/a professors, visiting or
volunteer academic appointees, contract, recall, and emeritus/a employees. “Personnel”
also includes, for purposes of this policy, official volunteers, as defined in the Regulations
Governing Conduct of Non-Affiliates in the Buildings and on the Grounds of the University
of California.
Physical Presence: Physical presence at a University Location or Program for any work,
research, or education/training related purpose (as distinguished from accessing a
Healthcare Location as a patient, or an art, athletics, entertainment, or other publicly
accessible venue at a Location as a member of the public). Physical presence includes
living in housing furnished by the University, using University amenities such as
entertainment venues, museums, libraries, workout facilities, or dining halls or food courts
in one’s capacity as Personnel or a Student or Trainee, or participating in person in a
University Program even if not occurring at a Location. Access is not defined by reference
to any particular frequency (e.g., daily, weekly, monthly, ad hoc).
Reasonable Accommodation: An adjustment made to the requirements of the COVID-
19 Vaccination Program for a Covered Individual who has received an approved
Exception or Deferral to allow them to Physically Access a University Location or Program
without impairing the health and safety objectives of this policy. Covered Individuals who
are granted Exceptions or Deferrals will be required to observe Non-Pharmaceutical
Interventions as a condition of Physical Presence.
Religious Objection: A Covered Individual’s objection to receiving the COVID-19
vaccine based on that person’s sincerely held religious belief, practice, or observance.
Responsible Office: The office at a Location responsible for processing requests for
Exception or Deferral. The list of such offices can be found online at: COVID-19
Vaccination Program: Responsible Offices..
Students: The term “Student” has the same meaning as defined in the current version of
PACAOS 14.40: an individual for whom the University maintains student records and


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who: (i) is enrolled in or registered with an academic program of the University; (ii) has
completed the immediately preceding term, is not presently enrolled, and is eligible for
reenrollment; or (iii) is on an approved educational leave or other approved leave status,
or is on filing-fee status. For purposes of this policy, the term “Student” also includes K-12
students, children enrolled in day care programs, and campers who are eligible for
vaccination outside clinical trials; as well as visiting students and extension students.
Trainees: Trainees include participants in post-graduate training programs who are
neither Students nor Personnel; as well as individuals enrolled in continuing education,
lifelong learning, seminars, workshops, and other non degree-granting educational
programs.
University or UC: The University of California.
University Program: A program or activity operated by the University to support the
University’s teaching or research mission and generally offered exclusively to University
Personnel or Students. Examples of covered Programs that may not be conducted at a
Location include the UC Education Abroad Program and University-sponsored athletics
programs.
Vaccine: A COVID-19 Vaccine satisfies the requirements of this policy if: (i) the U.S.
Food and Drug Administration (FDA) has issued a License or an Emergency Use
Authorization (EUA) for the vaccine or; (ii) the World Health Organization has approved
Emergency Use Listing (EUL).
Vaccine Information Statement (“VIS”): An information sheet produced by or including
information derived from the Centers for Disease Control and Prevention, the California
Department of Public Health, or UC Health or any of its components, explaining in plain
language the benefits and risks of a COVId-19 vaccine to vaccine recipients. A VIS
generally must be provided to an individual being vaccinated prior to each dose of the
vaccine, in a language they understand. For purposes of this policy, a VIS may also
include FDA fact sheets for vaccine recipients and caregivers.

III. POLICY TEXT
This policy supplements, and does not replace, policies or guidelines requiring University
Personnel, Trainees, Students, patients, and visitors to observe Non-Pharmaceutical
Interventions, as further described in Appendix A: COVID-19 Prevention Strategies.
    A. COVID-19 Vaccination Program. As a condition of Physical Presence at a
       Location or in a University Program, all Covered Individuals must Participate in the
       COVID-19 Vaccination Program by providing proof of Full Vaccination or
       submitting a request for Exception or Deferral no later than the Implementation
       Date. This requirement will be subject to implementation guidelines and any local
       procedures for enforcement. Alternative remote instructional programming is not
       expected to be available in most cases and the availability of alternative remote
       work arrangements will depend on systemwide guidance and any local policies or
       procedures, as well as the nature of the work to be performed.


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        1. Access to Vaccination. All Locations that are campuses and medical centers
           must offer COVID-19 vaccination on-site or maintain a list of nearby and
           accessible off-site locations offering vaccination to Covered Individuals during
           working and non-working hours. This provision is not intended to restrict a
           Covered Individual’s choice of provider, but to maximize their access to the
           Vaccine.
        2. Proof of Vaccination. Covered Individuals must submit proof of their
           vaccination or of a University-approved Exception or Deferral to their Location
           Vaccine Authority, by providing: (i) in the case of one who has been Fully
           Vaccinated, a copy of their CDC vaccination card (or foreign equivalent in the
           case of Covered Individuals who received their vaccinations abroad); official
           documentation issued by a State vaccine registry; or an official medical record;
           or (ii) in the case of one who has received an Exception or Deferral,
           documentation that the Exception or Deferral has been granted. Proof of
           vaccination may be subject to audit.
             Request for Exception/Deferral. A Covered Individual seeking an Exception or
             Deferral must, no later than the Implementation Date, submit their request to
             the appropriate Responsible Office. While a request is pending, the Covered
             Individual must, as a condition of Physical Presence, observe Non-
             Pharmaceutical Interventions defined by the LVA consistent with applicable
             public health directives and the guidelines in Appendix A: COVID-19 Prevention
             Strategies. If an Exception or Deferral is granted, the issuing office must notify
             the Covered Individual and the LVA of the approval and the associated
             expiration date, if any. If a request for Exception or Deferral is denied, the
             Covered Individual will be notified and, thereafter, will be expected to promptly
             become Fully Vaccinated or denied Physical Presence at the relevant
             University Location(s) or Program(s).
        3. Education. Any Covered Individual who has not provided proof of Full
           Vaccination by the Implementation Date will receive from the Location Vaccine
           Authority or designee information concerning:
             a. The potential health consequences of COVID-19 illness for themselves,
                family members and other contacts, coworkers, patients, and the
                community;
             b. Occupational exposure to SARS-CoV-2;
             c. The epidemiology and modes of transmission, diagnosis, and non-vaccine
                infection control strategies (such as the use of appropriate precautions,
                personal protective equipment or face coverings, and respiratory
                hygiene/cough etiquette), in accordance with their level of responsibility in
                preventing COVID-19 infections;
             d. The potential benefits of COVID-19 vaccination; and
             e. The safety profile and risks of any COVID-19 vaccine.



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             The information may be conveyed through any combination of written information
             statements, verbal communications, or online or in-person training programs, as
             required by the Location Vaccine Authority.
             This educational requirement is not an alternative to required Participation in the
             COVID-19 Vaccination Program as a condition of Physical Presence at a
             University Location or Program as set forth above.
        4. Registration Holds. Program implementation and enforcement with respect to
           Students will be handled consistent with the procedural provisions of the
           Student Immunization Policy. Students who fail to provide proof of vaccination
           or apply for an Exception or Deferral by the Implementation Date may,
           therefore, be subject to a registration hold.
        5. Non-Pharmaceutical Interventions. All Covered Individuals must participate
           in Non-Pharmaceutical Interventions described in Appendix A: COVID-19
           Prevention Strategies, as implemented by the relevant University Location or
           Program. In the event of a COVID-19 outbreak, Covered Individuals and
           Covered Non-Affiliates who are not Fully Vaccinated may be excluded from the
           Location or site of the outbreak.
        6. Optional Additional Measures. Covered Individuals may wear masks or face
           coverings even if they are Fully Vaccinated.
    B. Covered Non-Affiliates. Each University Location and Program will define any
       requirements for public or other Covered Non-Affiliate Physical Presence (for
       example, at health facilities, entertainment venues, museums, libraries, workout
       facilities, or dining halls or food courts), consistent with applicable public health
       guidance.
    C. Superseding Public Health Directives. A federal, state, or local public health
       agency with jurisdiction may impose a COVID-19 vaccination requirement that
       lawfully supersedes this policy. In the event of a perceived conflict between public
       health requirements and this Policy, UC Legal should be consulted.
    D. Tracking and Reporting
        1. Vaccination Data. The following information must be recorded and tracked by
           the Location Vaccine Authority or designee in the Covered Individual’s
           confidential health record, consistent with University privacy and security
           policies including BFB-IS-3 (Electronic Information Security Policy):
           (i) date(s) of administration and vaccine type and manufacturer; or
           (ii) documentation of a University-approved Exception or Deferral.
        2. Vaccines Administered by the University
             a. Registries. For all vaccinations administered by the University in its capacity
                as healthcare provider, appropriate information will be submitted to the
                California Immunization Registry (CAIR) or such other registries as may be
                required by applicable public health agencies or University policy. While
                vaccine recipients ordinarily are permitted to opt out from registry reporting in
                California, the California Department of Public Health has mandated that all

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                 participating vaccinators report each dose of COVID-19 vaccine administered.
                 Accordingly, the typical opt-out option does not apply.
             b. Adverse Events. Any adverse events associated with COVID-19 vaccine
                administered at a Location and reported to the University must be tracked and
                logged by the LVA or designee and reported to federal and state public health
                officials using the Vaccine Adverse Event Reporting System (VAERS).
    E. Program Evaluation. Unless UCOP requires more regular reporting, Individual
       Healthcare Locations must, and other Locations may, evaluate Program
       Participation on an annual and ongoing basis, including evaluation of equity in
       Program implementation; as well as reasons identified for non-Participation or
       untimely Participation and the number and population-level characteristics of
       Covered Individuals who are not vaccinated.

IV. COMPLIANCE / RESPONSIBILITIES
    A. CDC and FDA generally translate VIS into many languages commonly spoken in
       California and elsewhere in the United States and post these online. Whenever the
       University is administering a vaccine in its capacity as healthcare provider, the
       relevant VIS should be provided to a person receiving vaccine in a language that
       they understand. In the unlikely event relevant VIS translations are unavailable,
       they should be accompanied when distributed with a document with taglines such
       as those approved by the U.S. Department of Health & Human Services to
       facilitate language access by all affected Personnel, Trainees, and Students.
       Interpreters should also be made available in person, by video, or by phone during
       vaccine clinics.
    B. Each campus is responsible for: (i) assuring any necessary updates are made to
       its local Infectious Diseases/Infection Prevention and Control Programs; (ii)
       establishing deadlines for COVID-19 Vaccination Program Participation on an
       annual or ongoing basis, in consultation with epidemiology and infection prevention
       experts and occupational health representatives as applicable and consistent with
       any supply limitations; and (iii) assuring implementation of the COVID-19
       Vaccination Program at all sites.
        1. Implementation includes informing Personnel, Trainees, and Students of the
           requirement and deadline for Program Participation, dates and Locations for
           on-site administration, and that vaccines will be provided at no cost to them if
           they wish to receive the vaccine from the University.
        2. Each campus should implement strategies for vaccine access, including efforts
           to ensure vaccination availability during all work shifts and to address vaccine
           hesitancy, particularly among groups at most significant risk for contracting
           COVID-19 and suffering severe illness.
    C. Chancellors, Laboratory Directors, and the Vice President ANR are responsible for
       implementing this policy. Deans, Department Chairs, unit heads, managers,
       supervisors, student affairs leaders, and others with responsibility for personnel

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        management will support Program implementation and enforcement. Consultation
        with Academic Senate leaders, especially on the campus, is encouraged with
        respect to implementation procedures for academic appointees.

V. PROCEDURES
      A systemwide implementation working group will develop implementation guidelines
      for this policy, which will subsequently be attached to the policy. Each Location may
      establish local procedures consistent with those guidelines to facilitate
      implementation of the policy.

VI. RELATED INFORMATION

        Advisory Committee on Immunization Practices – Ethical Principles for Allocating
        Initial Supplies of COVID-19 Vaccine – United States, 2020 (MMWR Nov. 23, 2020)
        and Meeting Information (November 23 and December 1, 2020)
        American College Health Association Recommends COVID-19 Vaccination
        Requirements for All On-Campus College Students in Fall 2021
        American College of Obstetricians and Gynecologists, COVID-19 Vaccination
        Recommendations for Obstetric-Gynecologic Care (December 2020)
        UC Health Coordinating Committee – Bioethics Working Group Vaccine Allocation
        Recommendations
        Cal. Health & Safety Code Division 2, Chapter 2, Article 3.5
        California Department of Public Health, Licensees Authorized to Administer Vaccine
        in California
        Centers for Disease Control and Prevention, COVID-19 Contraindications and
        Precautions
        Centers for Disease Control and Prevention, COVID-19 Vaccine Training: General
        Overview of Immunization Best Practices for Healthcare Providers
        FDA COVID-19 Vaccine Information
        FDA AstraZeneca COVID-19 Vaccine (includes fact sheet and translations)
        [COMING SOON]
        FDA Janssen COVID-19 Vaccine (includes fact sheet and translations)
        FDA Pfizer-BioNTech COVID-19 Vaccine (includes fact sheet and translations)
        FDA Moderna COVID-19 Vaccine (includes fact sheet and translations)
        CDC COVID-19 Vaccination
        CDC COVID Vaccination Program Planning Guidance
        CDC Vaccine Recommendation Process

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        American Medical Association, Opinion 8.7, Routine Universal Immunization of
        Physicians and KB O’Reilly, Are Physicians Obligated to Get Vaccinated Against
        COVID-19? (November 16, 2020)
        Infectious Disease Society of America – COVID-19 Vaccine Information
        Congregation for the Doctrine of the Faith, Note on the Morality of Using Some Anti-
        COVID-19 Vaccines (December 21, 2020)
        UC Responsible Offices

VII. FREQUENTLY ASKED QUESTIONS
    1. What is the relationship between this policy and the previously posted interim
        policy? This policy replaces the previously posted interim policy in its entirety.
    2. The policy both encourages and requires members of the University Community to
        be vaccinated. Which is it? The policy strongly encourages all members of the
        University Community to be vaccinated. Only Covered Individuals are required to
        Participate in the Program by becoming Fully Vaccinated or receiving a University-
        approved Exception or Deferral.
    3. Why is UC allowing exceptions for reasons other than medical exemption? If
        California can eliminate personal belief and religious exceptions for K-12 students,
        why can’t UC do the same? The University is required by law to offer reasonable
        accommodations to individuals who qualify for an Exception to the vaccination
        requirement based on their disability, as well as to employees who object to
        vaccination based on their sincerely-held religious belief, practice, or observance.
        A decision was made to apply the COVID-19 vaccine mandate consistently across
        all groups of individuals covered by this policy. Vaccination against the virus that
        causes COVID-19 is a critical step for protecting the health and safety of our
        communities and ending the pandemic.
    4. Is this a one-time mandate or will I be required to get boosters or annual shots?
        This is a permanent policy. Infectious disease experts anticipate that annual or
        more frequent boosters will be necessary and receipt of boosters will be required,
        consistent with product labeling, in the same way that the initial vaccination is
        required by this policy and subject to the same Exceptions and Deferrals.
    5. Am I required to be vaccinated to attend school? Covered Individuals must receive
        the COVID-19 vaccine as a condition to Physical Presence at Locations and in
        University Programs, unless they have been granted an Exception or Deferral.
    6. Will this requirement apply to union-represented employees? Yes, in accordance
        with any applicable collective bargaining requirements.
    7. How do I apply for an Exception or Deferral? Individuals covered by this policy who
        seek an exception (on medical, disability, or religious grounds) or deferral (during
        pregnancy) must complete the request form and submit it to their location’s
        Responsible Office. Model forms have been published with this final policy for
        adaptation or as-is use by each location. Employees should use the forms adopted

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        by their location. Details will be communicated by each UC Location to Covered
        Individuals.
    8. I am pregnant. Will I be eligible for a medical exemption? No, but you are eligible
        for a Deferral throughout your pregnancy or (if later) when you return to work or
        instruction, as applicable. You may also be eligible for a disability accommodation.
        According to the Centers for Disease Control and Prevention (CDC), pregnant
        people and recently pregnant people are at increased risk for severe illness from
        COVID-19 when compared with non-pregnant people. Severe illness includes
        illness that requires hospitalization, intensive care, or a ventilator or special
        equipment to breathe, or illness that results in death. Additionally, pregnant people
        with COVID-19 are at increased risk of preterm birth and might be at increased risk
        of other adverse pregnancy outcomes compared with pregnant people without
        COVID-19. There is currently no evidence that any vaccines, including COVID-19
        vaccines, cause female or male fertility problems. Accordingly, the University
        strongly recommends that all Students, Trainees, and Personnel be vaccinated
        unless they have Contraindications or Precautions. However if you are pregnant,
        you will be eligible for Deferral through the end of the pregnancy or (if later) when
        you return to work or instruction, as applicable.
    9. I was recently diagnosed with COVID-19, and/or I had an antibody test that shows
        that I have natural immunity. Does this support a Medical Exemption? You may be
        eligible for a temporary Medical Exemption (and, therefore, a temporary
        Exception), for up to 90 days after your diagnosis and certain treatments.
        According to the US Food and Drug Administration, however, “a positive result
        from an antibody test does not mean you have a specific amount of immunity or
        protection from SARS-CoV-2 infection … Currently authorized SARS-CoV-2
        antibody tests are not validated to evaluate specific immunity or protection from
        SARS-CoV-2 infection.” For this reason, individuals who have been diagnosed with
        COVID-19 or had an antibody test are not permanently exempt from vaccination.
    10. I am participating or have participated in a vaccine clinical trial for a vaccine that
        has not been approved, and so I have not received a CDC card. Am I considered
        to be in compliance with the policy? The University will accept any FDA- or WHO-
        authorized vaccine as fulfilling the mandate. If you participated in a trial of a
        vaccine that has received authorization from either body, and you can show that
        you did not receive the placebo (that is, your record has been “unblinded”), then
        you will be considered in compliance with the policy. Boosters may later be
        required as explained above.
    11. How will I know if my co-workers or fellow Students are going unvaccinated? You
        probably won’t know. Because vaccination-related information is private and
        confidential, the University will not disclose vaccine status of Covered Individuals
        except on a need-to-know basis; however third parties and some Locations may
        distribute badge attachments, stickers, pins, or other indicators that vaccinated
        individuals may use to show that they have received the vaccine.
    12. I teach both seminar and lecture classes, and as a result am typically exposed to
        many students. Will I be informed if someone in my class is not vaccinated? If not,

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SARS-CoV-2 (COVID-19) Vaccination Program

        will all students be required to wear masks? As will be the case in any public
        setting, you will not be informed of the vaccination status of individual students and
        should expect that some may not be vaccinated due to pending or granted
        Exceptions or Deferrals. Guidance on face coverings for individuals who have and
        have not been Fully Vaccinated is provided in Appendix A: COVID-19 Prevention
        Strategies.
    13. Will University of California Health specify which authorized or licensed vaccine is
        preferred? No. Any COVID-19 vaccine authorized or approved by the U.S. Food
        and Drug Administration or by the World Health Organization will be accepted to
        satisfy the vaccination requirement.
    14. Will Locations provide paid time off for non-exempt employees for the time needed
        to get vaccinated? Yes. Non-exempt employees and hourly academic appointees
        may take up to four hours of paid time to obtain each dose of the SARS-CoV-2
        (COVID-19) vaccine. These employees and academic appointees must provide
        advance notice to their supervisor. If an employee or academic appointee needs
        more time for this purpose before September 30, 2021, the employee or academic
        appointee may request 2021 Emergency Paid Sick Leave (EPSL) (Reason 3(d))
        for the additional time.
    15. What if I experience flu-like symptoms as a result of the vaccine that mean I cannot
        work as scheduled, or attend classes? Employees should contact their supervisors
        or local human resources offices for instruction but as a general matter, accrued
        sick leave, vacation, and/or PTO may be used to take time off as needed to
        recover. Before September 30, 2021, employees may also request EPSL (Reason
        3(e)) for that purpose. Students should contact their faculty/instructors regarding
        minor illnesses or disability services to address any significant issues.
    16. If I have applied for or been granted an Exception or Deferral, what Non-
        Pharmaceutical Interventions (NPIs) will I be required to observe? See Appendix
        A: COVID-19 Prevention Strategies, which describes required NPIs. Additional
        safety measures may be deemed necessary, depending on the circumstances, by
        local public health, environmental health and safety, occupational health, or
        infection prevention authorities, including the Location Vaccine Authority. In that
        case, a person who has received an approved Exception or Deferral (or whose
        request is pending) will be informed of any additional requirements.
    17. Who will pay for the vaccine? Initial supplies have been paid for by the federal
        government. Vaccines administered by the University to consenting Covered
        Individuals as part of the COVID-19 Vaccination Program (e.g., during vaccine
        clinics or at employee health or occupational health offices) are administered free
        of charge. In addition, all of the University’s health plans cover CDC-recommended
        vaccines administered by an employee’s primary care physician or at a local
        pharmacy.
    18. How will enforcement work for failure to participate in the program? Efforts will be
        made to encourage Participation in the COVID-19 Vaccination Program prior to the
        Implementation Date. Those Covered Individuals who fail to Participate by being
        Vaccinated or requesting an Exception or Deferral on or before the Implementation

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        Date will be barred from Physical Presence at University Facilities and Programs,
        and may experience consequences as a result of non-Participation, up to and
        including dismissal from educational programs or employment.
    19. I am at high risk for severe illness if I contract COVID-19 (e.g.,
        immunocompromised) and even though I have been vaccinated, I know that no
        vaccine is 100% effective. Do I have to come to work if my co-workers or Students
        are not all vaccinated? What accommodations will be made for me? Please
        contact your local disability services office to discuss your situation and possible
        accommodations.
    20. Will the University accept internationally approved vaccines even if not authorized
        or approved in the United States Yes, if the vaccine is authorized by the World
        Health Organization (WHO). The WHO has developed a process for assessing and
        listing unlicensed vaccines, therapeutics, and diagnostics during public health
        emergencies. Through that process, a number of vaccines not available in the
        United States have received Emergency Use Listing (EUL). A document
        summarizing the status of a wide range of international vaccines can be found
        online on the WHO’s website (click on link to status of COVID-19 vaccines in the
        EUL/PQ evaluation process). The University will, consistent with CDC and CDPH
        guidance, accept proof of Full Vaccination with any international vaccine that has
        been authorized for emergency use by WHO through the EUL process. People
        who have completed a COVID-19 vaccination series with one of these vaccines do
        not need additional doses with an FDA-licensed or -authorized COVID-19 vaccine,
        at least initially (but may be subject to subsequent booster requirements). Those
        who are not Fully Vaccinated generally will be required to receive an FDA-licensed
        or -authorized Vaccine no less than 28 days after their last international
        vaccination (but may consult with the LVA or designee to discuss eligibility for a
        temporary Medical Exemption). In the interim, they will be treated as if they are not
        Fully Vaccinated.
    21. I was vaccinated in another country, where the government increased the time
        between first and second vaccines to longer than the CDC and FDA advise. Do I
        have to be revaccinated? No. If you have proof of completing a series of any FDA-
        licensed or FDA- or WHO-authorized vaccine consistent with your country’s
        implementation, you will be considered to have been Fully Vaccinated.
    22. I cannot come back to campus 3-4 weeks before school starts, and I can’t access
        any vaccine in my country. Will I be allowed on campus? Yes. You will be allowed
        on campus but will be referred to a vaccine site to get vaccinated immediately,
        unless you qualify for a University-approved Exception or Deferral. Until you are
        Fully Vaccinated, you will be subject to the NPIs described in Appendix A: COVID-
        19 Prevention Strategies for unvaccinated individuals. Additional safety measures
        may be deemed necessary, depending on the circumstances, by local public
        health, environmental health and safety, occupational health, or infection
        prevention authorities, including the Location Vaccine Authority.




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VIII. REVISION HISTORY
First Effective Date: December 14, 2020
Amended: January 15, 2021 (extended from UC Health to all University locations)
Amended: July 15, 2021 (extended to Students, effective Fall 2021; and vaccine
mandated at that time for all groups subject only to limited Exceptions and Deferrals)
This Policy is formatted to meet Web Content Accessibility Guidelines (WCAG) 2.0.

IX. APPENDICES
    A. COVID-19 Prevention Strategies
    B. Vaccine Information Statements [COMING SOON]
             a. FDA EUA Fact Sheet for Recipients and Caregivers (AstraZeneca)
                [COMING SOON]
             b. FDA EUA Fact Sheet for Recipients and Caregivers (Janssen)
             c. FDA EUA Fact Sheet for Recipients and Caregivers (Pfizer-BioNTech)
             d. FDA EUA Fact Sheet for Recipients and Caregivers (Moderna)
    C. COVID-19 Vaccination Program: Responsible Offices.
    D. Exceptions and Deferrals
             a. Medical Exemption and/or Disability Exception Request Form
             b. Religious Exception Request Form
             c. Deferral Request Form
             d. Approval of Request for Exception or Deferral Form
             e. Denial of Request for Exception or Deferral Form
Note: The model forms are provided for convenience only and may be adapted by
locations consistent with applicable policies and practices.
    E. Implementation Guidelines: Exceptions and Deferrals
    F. Implementation Guidelines: Employee Compliance
        Compliance Flowchart




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                                   #:127
                        UNIVERSITY OF CALIFORNIA
   MEDICAL EXEMPTION AND/OR DISABILITY EXCEPTION REQUEST FORM
                    Exception to SARS-CoV-2 (COVID-19) Vaccination Requirement

 EMPLOYEE OR STUDENT NAME                           EMPLOYEE OR STUDENT ID

 JOB TITLE (IF APPLICABLE)                          LOCATION

 DEPARTMENT                                         SUPERVISOR (IF APPLICABLE)

 PHONE NUMBER                                       EMAIL



This form should be used by University employees and students to request an
Exception to the COVID-19 vaccination requirement in the University’s SARS-
CoV-2 Vaccination Program Policy based on (a) Medical Exemption due to a
Contraindication or Precaution to COVID-19 vaccination recognized by the U.S.
Centers for Disease Control and Prevention (CDC) or by the vaccines’
manufacturers; (b) Medical Exemption due to COVID-19 diagnosis or treatment
within the last 90 days; or (c) Disability.

Fill out Part A to request a Medical Exemption due to Contraindication or
Precaution. Fill out Part B to request a Medical Exemption due to COVID-19
diagnosis or treatment within the last 90 days. Fill out Part C to request an
Exception based on Disability. More than one section may be completed if
applicable. Important: Do not identify any diagnosis, disability, or other medical
information (other than COVID-19 diagnosis in Part B). That information is not
required to process your request.

Part A: Request for Medical Exemption Due to Contraindication or Precaution

         The Contraindications or Precautions to COVID-19 vaccination recognized by
         the CDC or by the vaccines’ manufacturers apply to me with respect to all
         available COVID-19 vaccines. For that reason, I am requesting an Exception to
         the COVID-19 vaccination requirement based on Medical Exemption. My request
         is supported by the attached certification from my health care provider. I
         understand that some local (city/county) public health departments have
         issued orders specifying that the certification must be signed by a
         physician, nurse practitioner, or other licensed medical professional
         practicing under the license of a physician.

Part B: Request for Medical Exemption Due to COVID-19 Diagnosis or Treatment

         I have been diagnosed with or treated for COVID-19 within the last 90 days. For
         that reason, I am requesting an Exception to the COVID-19 vaccination
         requirement based on Medical Exemption. My request is supported by the
         attached certification from my health care provider. I understand that some
         local (city/county) public health departments have issued orders specifying
         that the certification must be signed by a physician, nurse practitioner, or
         other licensed medical professional practicing under the license of a
         physician.
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                        UNIVERSITY OF CALIFORNIA
   MEDICAL EXEMPTION AND/OR DISABILITY EXCEPTION REQUEST FORM
              Exception to SARS-CoV-2 (COVID-19) Vaccination Requirement

Part C: Request for Exception Based on Disability

      I have a Disability and am requesting an Exception to the COVID-19 vaccination
      requirement as a Disability accommodation. My request is supported by the
      attached certification from my health care provider. I understand that some
      local (city/county) public health departments have issued orders specifying
      that the certification must be signed by a physician, nurse practitioner, or
      other licensed medical professional practicing under the license of a
      physician.

Please provide any additional information that you think may be helpful in processing
your request. Again, do not identify your diagnosis, disability, or other medical
information.


_____________________________________________________________________

While my request is pending, I understand that I must comply with the Non-
Pharmaceutical Interventions (e.g., face coverings, regular asymptomatic testing)
for unvaccinated or not fully vaccinated individuals as a condition of my Physical
Presence at any University Location/Facility or Program. These required Non-
Pharmaceutical Interventions are defined by my Location’s public health,
environmental health and safety, occupational health, or infection prevention
authorities, including the Location Vaccine Authority. I also understand that I
must comply with any additional Non-Pharmaceutical Interventions applicable to
my circumstances or position, as required by my Location. If my request is
granted, I understand that I will be required to comply with Non-Pharmaceutical
Interventions specified by my Location as a condition of my Physical Presence at
any University Location/Facility or Program.


I verify the truth and accuracy of the statements in this request form.



Employee/Student Signature:                                          Date:

Date Received by University:             By:
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                        UNIVERSITY OF CALIFORNIA
   MEDICAL EXEMPTION AND/OR DISABILITY EXCEPTION REQUEST FORM
                   Exception to SARS-CoV-2 (COVID-19) Vaccination Requirement

                        CERTIFICATION FROM HEALTH CARE PROVIDER

The University of California requires that its employees and students be vaccinated
against COVID-19 infection as a condition of accessing any University location, facility,
or program in person. The University may grant Exceptions to this requirement based
on (a) Medical Exemption due to a Contraindication or Precaution to COVID-19
vaccination recognized by the U.S. Centers for Disease Control and Prevention (CDC)
or by the vaccines’ manufacturers; (b) Medical Exemption due to COVID-19 diagnosis
or treatment within the last 90 days; or (c) Disability, provided that the individual’s
request for such an Exception is supported by a certification from their qualified licensed
health care provider.
 HEALTH CARE PROVIDER NAME                                    LICENSE TYPE, # AND ISSUING STATE


 FULL NAME OF PATIENT                                         DATE OF BIRTH OF PATIENT


 PATIENT’S EMPLOYEE/STUDENT/TRAINEE ID NUMBER                 HEALTH CARE PROVIDER PHONE/EMAIL


 PHYSICIAN SUPERVISOR AND LICENSE # (FOR A PHYSICIAN ASSISTANT WORKING UNDER A PHYSICIAN’S LICENSE)




Please note the following from the Genetic Information Nondiscrimination Act of 2008
(GINA), which applies to all University employees:

        The Genetic Information Nondiscrimination Act of 2008 (GINA) prohibits
        employers and other entities covered by GINA Title II from requesting or
        requiring genetic information of an individual or family member of the individual,
        except as specifically allowed by this law. To comply with this law, we are asking
        that you not provide any genetic information when responding to this request for
        medical information. “Genetic information,” as defined by GINA, includes an
        individual’s family medical history, the results of an individual’s or family
        member’s genetic tests, the fact that an individual or an individual’s family
        member sought or received genetic services, and genetic information of a fetus
        carried by an individual or an individual’s family member or an embryo lawfully
        held by an individual or family member receiving assistive reproductive services.

Please complete Part A of this form if one or more of the Contraindications or
Precautions to COVID-19 vaccination recognized by the CDC or the vaccines’
manufacturers apply to this patient. Please complete Part B if this patient has
been diagnosed with or treated for COVID-19 within the last 90 days. Please
complete Part C if this patient has a Disability, as defined below, that makes
COVID-19 vaccination inadvisable in your professional opinion. More than one
section may be completed if applicable to this patient. Important: Do not identify
the patient’s diagnosis, disability, or other medical information (other than
COVID-19 diagnosis in Part B) as this document will be returned to the University.
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                        UNIVERSITY OF CALIFORNIA
   MEDICAL EXEMPTION AND/OR DISABILITY EXCEPTION REQUEST FORM
                     Exception to SARS-CoV-2 (COVID-19) Vaccination Requirement

Part A: Contraindication or Precaution to COVID-19 Vaccination


       I certify that one or more of the Contraindications or Precautions recognized by the
       CDC or by the vaccines’ manufacturers for each of the currently available COVID-
       19 vaccines applies to the patient listed above. For that reason, COVID-19
       vaccination using any of the currently available COVID-19 vaccines is inadvisable
       for this patient in my professional opinion. The Contraindication(s) and/or
       Precaution(s) is/are:
           Permanent        Temporary.


       If temporary, the expected end date is:          .


Part B: COVID-19 Diagnosis or Treatment Within Last 90 Days


       I certify that my patient has been diagnosed with or treated for COVID-19 within
       the last 90 days.

         My patient’s COVID-19 diagnosis or last day of treatment (whichever is later)
       was on     .
          My patient is being actively treated for COVID-19. The expected end date of
       treatment is:     .


Part C: Disability That Makes COVID-19 Vaccination Inadvisable


“Disability” is defined as a physical or mental disorder or condition that limits a major life
activity and any other condition recognized as a disability under applicable law.
“Disability” includes pregnancy, childbirth, or a related medical condition where
reasonable accommodation is medically advisable.


       I certify that the patient listed above has a Disability, as defined above, that makes
       COVID-19 vaccination inadvisable in my professional opinion. The patient’s
       disability is:    Permanent        Temporary.


       If temporary, the expected end date is:          .


Signature of Health Care Provider                             Date
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                                   #:131
                        UNIVERSITY OF CALIFORNIA
                   RELIGIOUS EXCEPTION REQUEST FORM
                Accommodation to SARS-CoV-2 (COVID-19) Vaccination Requirement

 EMPLOYEE OR STUDENT NAME                         EMPLOYEE OR STUDENT ID

 JOB TITLE (IF APPLICABLE)                        LOCATION

 DEPARTMENT (IF APPLICABLE)                       SUPERVISOR (IF APPLICABLE)

 PHONE NUMBER                                     EMAIL




Based on my sincerely held religious belief, practice, or observance, I am
requesting an Exception to the COVID-19 vaccination requirement in the
            SARS-CoV-2 Vaccination Program Policy as a religious
accommodation.

Please identify your sincerely held religious belief, practice, or observance that is the
basis for your request for an Exception as a religious accommodation.



Please briefly explain how your sincerely held religious belief, practice, or observance
                             COVID-19 vaccination requirement.



Please provide any additional information that you think may be helpful in processing
your religious accommodation request.



While my request is pending, I understand that I must comply with the Non-
Pharmaceutical Interventions (e.g., face coverings, regular asymptomatic testing)
for unvaccinated or not fully vaccinated individuals as a condition of my Physical
Presence at any University Location/Facility or Program. These required Non-
Pharmaceut
environmental health and safety, occupational health, or infection prevention
authorities, including the Location Vaccine Authority. I also understand that I
must comply with                  Non-Pharmaceutical Interventions applicable to
my                     position




I verify the truth and accuracy of the statements in this request form.


Employee/Student Signature:                                                    Date:

Date Received by University:                       By:
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                                   #:132
                        UNIVERSITY OF CALIFORNIA
                         DEFERRAL REQUEST FORM
                     Deferral of SARS-CoV-2 (COVID-19) Vaccination Requirement

 EMPLOYEE/STUDENT NAME                               EMPLOYEE/STUDENT ID

 JOB TITLE (IF APPLICABLE)                           LOCATION

 DEPARTMENT (IF APPLICABLE)                          SUPERVISOR (IF APPLICABLE)

 PHONE NUMBER                                        EMAIL




This form should be used by University employees and students to request a
Deferral of the COVID-19 vaccination requirement                  SARS-CoV-2
Vaccination Program Policy during pregnancy.

         I am currently pregnant and am requesting a Deferral of the COVID-19 vaccination
         requirement during my pregnancy. My anticipated due date is:                    .

While my request is pending, I understand that I must comply with the Non-
Pharmaceutical Interventions (e.g., face coverings, regular asymptomatic testing)
for unvaccinated or not fully vaccinated individuals as a condition of my Physical
Presence at any University Location/Facility or Program. These required Non-

environmental health and safety, occupational health, or infection prevention
authorities, including the Location Vaccine Authority. I also understand that I
must comply with                  Non-Pharmaceutical Interventions applicable to
my                    position




I verify the truth and accuracy of the statements in this request form.



Employee/Student Signature:                                                       Date:

Date Received by University:                   By:
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                        UNIVERSITY OF CALIFORNIA
           APPROVAL OF REQUEST FOR EXCEPTION OR DEFERRAL
                             SARS-CoV-2 (COVID-19) Vaccination Requirement

 TO:        EMPLOYEE/STUDENT NAME                            EMPLOYEE/STUDENT ID

 FROM:      ISSUING OFFICE                                   ISSUING OFFICE PHONE/EMAIL

            ISSUING AUTHORITY NAME                           ISSUING AUTHORITY TITLE

 CC:        LOCATION VACCINE AUTHORITY NAME/EMAIL



On           , we received your request for the following in connection with the COVID-19 vaccination
requirement in the University’s SARS-CoV-2 Vaccination Program Policy:

            Exception based on Medical Exemption
            Exception based on Disability
            Exception based on Religious Objection
            Deferral based on pregnancy

For Exceptions: Based on the information you have provided, your request for Exception has been
APPROVED subject to the requirement that you comply with the Non-Pharmaceutical Interventions
specified below. This approval is valid  until                indefinitely. If your approval has an end
date and you no longer need an Exception or Deferral at that time, you will have until              (eight
[8] weeks after the end date) to become Fully Vaccinated and submit proof of vaccination.

For Deferrals: Based on the information you have provided, your request for Deferral has been
APPROVED subject to the requirement that you comply with the Non-Pharmaceutical Interventions
specified below. This approval is valid until you return to work or instruction, as applicable. If you no
longer need an Exception or Deferral at that time, you must become Fully Vaccinated and submit proof of
vaccination within eight (8) weeks of your return.

You must comply with the Non-Pharmaceutical Interventions (e.g., face
coverings, regular asymptomatic testing) for unvaccinated or not fully vaccinated
individuals as a condition of your Physical Presence at any University
Location/Facility or Program. These required Non-Pharmaceutical Interventions
are defined by your Location’s public health, environmental health and safety,
occupational health, or infection prevention authorities, including the Location
Vaccine Authority. You must also comply with the following Non-Pharmaceutical
Interventions applicable to your position (if any):



If you have any questions or concerns regarding the above, please contact:                                   .


BY SIGNING BELOW, YOU CERTIFY THAT YOU HAVE BEEN INFORMED OF THE RISKS OF
COVID-19 INFECTION, INCLUDING LONG-TERM DISABILITY AND DEATH, BOTH FOR YOU AND
FOR OTHERS WHO YOU MAY EXPOSE TO THE DISEASE.


Approved by:                                                                 Date:
                (Signature of Issuer)

Accepted:                                                                    Date:
             (Signature of Employee/Student)
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                                   #:134
                         UNIVERSITY OF CALIFORNIA
             DENIAL OF REQUEST FOR EXCEPTION OR DEFERRAL
                              SARS-CoV-2 (COVID-19) Vaccination Requirement

 TO:         EMPLOYEE/STUDENT NAME/EMAIL                    EMPLOYEE/STUDENT ID

 FROM:       ISSUING OFFICE                                 ISSUING OFFICE PHONE/EMAIL

             ISSUING AUTHORITY NAME                         ISSUING AUTHORITY TITLE

 CC:         LOCATION VACCINE AUTHORITY NAME/EMAIL



On       , we received your request for the following in connection with the COVID-19 vaccination
requirement in the University’s SARS-CoV-2 Vaccination Program Policy:

             Exception based on Medical Exemption
             Exception based on Disability
             Exception based on Religious Objection
             Deferral based on pregnancy

Your request has been DENIED based on the information we have received to date.

The reason for the denial is the following:

         You do not qualify for the Exception/Deferral that you requested.
         Your request is incomplete. We have requested the following additional information from you but
         have not received it.



         You are not a Covered Individual as defined by the SARS-CoV-2 Vaccination Program Policy. This
         means that you are not required to be vaccinated against COVID-19 at this time, so you do not
         need an Exception or Deferral to the University’s COVID-19 vaccination requirement. If you later
         become a Covered Individual and wish to request an Exception or Deferral at that time, you will
         need to submit a new request. (Note: The deadlines referenced below do not apply to you.)

Because your request for an Exception/Deferral has been denied, you have until               (14 calendar
days from the denial date below) to submit proof that you have received your first dose of a COVID-
19 vaccine. That proof must include the date that you received it. You then have until
(eight [8] weeks from the denial date below) to submit proof that you are Fully Vaccinated. If either
of the dates above falls on a weekend or University holiday, the deadline for providing the required proof is
the next business day that is not a University holiday.

Until you are Fully Vaccinated, you must comply with the Non-Pharmaceutical
Interventions (e.g., face coverings, regular asymptomatic testing) for unvaccinated
or not fully vaccinated individuals as a condition of your Physical Presence at any
University Location/Facility or Program. These required Non-Pharmaceutical
Interventions are defined by your Location’s public health, environmental health
and safety, occupational health, or infection prevention authorities, including the
Location Vaccine Authority. You must also comply with the following Non-
Pharmaceutical Interventions applicable to your position (if any):


If you have any questions regarding the above, please contact:


Denied by:                                                                            Date:
                  (Signature of Issuer)
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SARS-CoV-2 (COVID-19) Vaccination Program

                      Appendices E, F: Implementation Guidelines
These Guidelines are provided to aid those charged with evaluating, processing, and
resolving Personnel requests for Exception and/or Deferral to the University of California
Policy: SARS-CoV-2 (COVID-19) Vaccination Program (“Program”) and also provide
information regarding compliance with the Program.



APPENDIX E: EXCEPTIONS AND DEFERRALS
These Guidelines apply to Covered Individuals who physically access a University
Location/Facility or University Program in connection with their employment or
appointment and who have requested an Exception to the COVID-19 vaccination
requirement based on Medical Exemption, Disability, and/or Religious Objection or who
have requested a Deferral of that requirement based on pregnancy.

I.     DEFINITIONS
All terms in the “Definitions” section of the Program apply to these Guidelines.
Additional Term:
Decision: The determination of the approval or denial of an Exception or Deferral
request.

II.    ADMINISTRATION OF REQUESTS

      A. Establishment of a Responsible Office
         1. Locations should designate a particular office(s) and/or individual(s) to field
             Exception or Deferral requests and make this Responsible Office known to
             Personnel.
         2. This Office might be different for each type of Exception or Deferral allowed
             under the Program – e.g. Medical Exemption or Disability Exception requests
             may be processed by a different Office from the Religious Objection Exception
             requests.
         3. Locations can opt to utilize Third Party Administrator (TPA) Sedgwick to
             support the administration and review of Medical Exemptions, Disability
             Exceptions, Religious Objection Exceptions, and/or Deferrals due to
             pregnancy. If utilizing this option, the Location must still designate a
             Responsible Office to manage the coordination with Sedgwick.

      B. Documentation of the Request
         1. The Responsible Office is responsible for reporting all Exception and Deferral
             requests, approvals, and denials to the Local Vaccine Authority (LVA) at the
             Location.
         2. The Responsible Office should make Exception and Deferral Request Forms


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             (see Program, Appendix D) publicly available to Personnel and available upon
             request. Locations utilizing the TPA should provide full name and email
             address (individually or in a flat list format such as an Excel table) to the TPA;
             Sedgwick will then reply with the applicable Exception or Deferral Request
             Form.
        3. Either the Responsible Office or TPA should evaluate the Exception or Deferral
             request using the standardized criteria.
        4. The Responsible Office should use the Approval or Denial Form to record the
             Decision.
        5. The Responsible Office will exercise best practice information security
             procedures and comply with BFB-IS-3 (Electronic Information Security Policy)
             as well as BFB-RMP-1 (the University Records Management Program) when
             storing Program records (e.g., Exception and Deferral request forms, approval
             forms, denial forms, related communications) and when notifying the LVA
             regarding pending requests for Exceptions/Deferrals and Exception/Deferral
             Decisions. Program records should be kept confidential and only accessed for
             Program-related purposes. Program records should not be stored in an
             employee’s personnel file.

    C. Standardized Communications and Process
        1. All forms and notifications should follow standard templates. Location-specific
             forms may include consistently communicated modifications such as campus-
             specific non-pharmaceutical intervention (NPI) requirements, Responsible
             Office contact information, etc.
        2. Communications and forms regarding Exceptions and Deferrals (including
             request forms, notifications such as a notice of pending request, notice of
             approval, and notice of denial) should be standardized as much as possible
             regardless of medium (e.g., digital/e-mail vs. hard-copy) or the office sending
             the communication (e.g., local Responsible Office or Sedgwick).
        3. Communications should be made in a timely fashion, both acknowledging
             receipt of the request and communicating the subsequent Decision.

    D. Pending and Granted Exceptions and Deferrals Require Employee Use of NPI
        All forms and references to Exception and Deferral requests should clearly state
        that, as a condition of Physical Presence, employees are required to comply with
        the Location’s NPI requirements (e.g., face coverings, regular asymptomatic
        testing) while an Exception or Deferral request is pending or after such requests
        have been approved. NPI requirements may be amended and communicated to
        employees subsequently, such as if public health conditions prompt revisions to
        NPI requirements. See Appendix D of the Program for recommended model form
        language.




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III. DECISION PROCESS
    A. The Responsible Office will evaluate all Exception and Deferral requests
       consistently in both the application of the Guidelines and treatment of similarly
       situated Personnel throughout the University.
    B. The Responsible Office will utilize system-wide training for individuals charged with
       evaluating Exception or Deferral requests. The Responsible Office will stay up to
       date on training, which may be amended as new information or changes to
       conditions (i.e., Public Health) may require.
    C. The Responsible Office will contact Personnel in a timely fashion in the event that
       an incomplete form is submitted or more information is needed in order to evaluate
       the request.

IV. APPENDIX E REVISION HISTORY
    First Effective Date: July 20, 2021
    Amended Effective Date: August 11, 2021




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APPENDIX F: EMPLOYEE COMPLIANCE

I.     SUMMARY
The purpose of the Program is to facilitate the protection of the health and safety of the
University community. The Program requires employees to be Fully Vaccinated against
COVID-19 before physically accessing the University’s Locations/Facilities or University
Programs, subject to specified Exceptions and Deferrals.
These Guidelines provide information regarding compliance with the Program by
University of California policy-covered staff and Academic Personnel Manual (APM)-
covered academic appointees. The University desires a consistent approach for all
employee populations, including represented employees, subject to its collective
bargaining obligations and applicable collective bargaining agreements.

II.    EMPLOYEE REQUIREMENTS BY IMPLEMENTATION DATE
The COVID-19 vaccination requirement applies to UC employees who physically access
the University’s Locations/Facilities or University Programs in connection with their
employment or appointment. As a condition of Physical Presence at a University
Location/Facility or in a University Program, all of these UC employees must provide
proof of Full Vaccination or submit a request for an Exception or Deferral no later than the
applicable implementation date.

III. TIMELINE
The path to full compliance for each employee, including the notices provided, may differ
depending upon the date that the employee complies with each compliance step or
submits a Request for Exception/Deferral.

IV. REQUEST FOR EXCEPTION/DEFERRAL
An employee seeking an Exception or Deferral must, no later than the applicable
implementation date, submit their request to the Responsible Office described in Section
II.A of Appendix E. While a request is pending, the employee must, as a condition of
Physical Presence, comply with non-pharmaceutical interventions (NPIs) defined by the
Location.

      A. Request Approved
        If an Exception or Deferral is granted, the issuing office must notify the employee
        and the Location Vaccine Authority of the approval and the associated expiration
        date, if any. The employee must, as a condition of Physical Presence, comply with
        NPIs defined by the Location.

      B. Request Denied
        If an employee has submitted a single request for an Exception or Deferral that
        has been denied, or requests on more than one ground that have all been fully


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        considered and denied, the employee (“Non-Excepted Employee” hereafter) will
        receive a Denial of Request for Exception or Deferral.
          1.     Employee Chooses to Become Fully Vaccinated
                 If the Non-Excepted Employee chooses to become Fully Vaccinated, they
                 must provide proof that they have received their first shot within 14 calendar
                 days of the date of denial. This proof must include the date of the first shot.
                 Until the Non-Excepted Employee is Fully Vaccinated, they must, as a
                 condition of Physical Presence, comply with NPIs defined by the Location.
                 If the Non-Excepted Employee receives the Johnson & Johnson vaccine,
                 they will be considered Fully Vaccinated two weeks after the date of the first
                 shot. If they receive the Moderna or Pfizer vaccine, they will be considered
                 Fully Vaccinated two weeks after the date of the second shot. Proof of Full
                 Vaccination must be provided no later than eight weeks from the date of the
                 denial.
          2.     Employee Chooses Not to Start the Vaccination Process
                 If the Non-Excepted Employee chooses not to receive their first shot within
                 14 calendar days of the date of denial, the applicable process begins at
                 Section V.A.

V.    EMPLOYEE NON-COMPLIANCE

     A. First Notice of Non-Compliance (All Employees)
        UC employees subject to the COVID-19 vaccination requirement who fail to
        provide proof of Full Vaccination and who have not requested an Exception or
        Deferral by the applicable implementation date (or Non-Excepted Employees, who
        fail to provide proof that they have received their first shot within the 14 calendar
        days as described in Section IV.B.2) will receive a First Notice of Non-Compliance.

     B. Three-Day Period Following First Notice of Non-Compliance (All Employees)
        Once an employee has received a First Notice of Non-Compliance, they will have
        three business days to provide proof of Full Vaccination or to make a request for
        an Exception or Deferral (or, in the case of a Non-Excepted Employee, to provide
        proof that they have received their first shot or, if applicable, to make a new
        request). During these three business days, the employee must, as a condition of
        Physical Presence, comply with NPIs defined by the Location.
        If an employee has not responded within three business days and is a non-
        Excepted Employee, the applicable process continues below at Section V.D; for
        other employees, the applicable process continues below at Section V.C.




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    C. Second Notice of Non-Compliance (Employees Other Than Non-Excepted
       Employees)
        If, after receipt of the First Notice of Non-Compliance, the employee does not
        submit proof of Full Vaccination or make a request for an Exception or Deferral
        within three business days, they will receive a Second Notice of Non-Compliance
        that requires them to submit proof that they have received their first shot within 14
        calendar days of the date of the Second Notice of Non-Compliance. This proof
        must include the date of the first shot.
        As described in Section V.B, until the employee is Fully Vaccinated, the employee
        must, as a condition of Physical Presence, comply with NPIs defined by the
        Location.
        If the employee receives the Johnson & Johnson vaccine, the employee will be
        considered Fully Vaccinated two weeks after the date of the first shot. If the
        employee receives the Moderna or Pfizer vaccine, the employee will be considered
        Fully Vaccinated two weeks after the date of the second shot.
        Proof of Full Vaccination must be provided no later than eight weeks from the date
        of the Second Notice of Non-Compliance.

    D. Notice of Continued Non-Compliance
        If an employee fails to submit proof of Full Vaccination or make a request for an
        Exception or Deferral within the period prescribed in the Second Notice (or the
        First Notice, if a Non-Excepted Employee), the employee will receive a Notice of
        Continued Non-Compliance stating that the Department will commence a period of
        progressive corrective action/discipline against the employee.
        During the corrective action/discipline period, the employee will be permitted
        Physical Presence for up to six weeks (at the Location’s discretion) and must, as a
        condition of Physical Presence, comply with NPIs defined by the Location.
        The Chancellor or designee may choose to briefly extend the six-week period of
        Physical Presence for exceptional circumstances, including but not limited to:
                 Providing for a non-compliant instructor to continue teaching or mentorship
                 in the best interest of student learning;
                 Providing for a non-compliant employee to continue work in order to avoid
                 potential negative impacts on critical University operations due to
                 unanticipated business requirements; or
                 For other urgent requirements.
        Any corrective action/discipline taken as a result of employee non-compliance will
        be consistent with the policies or collective bargaining provisions applicable to the
        specific employee population.




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    E. Corrective Action/Discipline
          1.     Policy-Covered Staff
                 For regular status employees in the Professional & Support Staff (PSS)
                 personnel group, corrective action/discipline is taken in accordance with
                 PPSM 62 (Corrective Action).
                 For career employees in the Managers & Senior Professionals (MSP)
                 personnel group refer to PPSM 64 (Termination and Job Abandonment).
                 For Senior Management Group (SMG) employees refer to PPSM II-64
                 (Termination of Appointment).
                 For employees in the PSS or MSP personnel groups who are not regular
                 status or career, refer to the specific appointment type in PPSM 3 (Types of
                 Appointment).
          2.     Policy-Covered Academic Appointees
                 For all faculty, the University policy on faculty conduct is set forth in APM –
                 015 (The Faculty Code of Conduct). For Senate Faculty, the administration
                 of discipline is set forth in APM – 016 (University Policy on Faculty Conduct
                 and the Administration of Discipline). In cases of disciplinary action
                 commenced by the administration against a member of the Academic
                 Senate, or against other faculty members in cases where the right to a
                 hearing before a Senate committee is given by Section 103.9 or 103.10 of
                 the Standing Orders of The Regents, proceedings shall be conducted
                 before a Divisional Committee on Privilege and Tenure according to Senate
                 Bylaw 336 Privilege and Tenure: Divisional Committees -- Disciplinary
                 Cases.
                 For all other academic appointees, corrective action is taken in accordance
                 with APM – 150 Corrective Action and Dismissal.
          3.     Represented Employees
                 Corrective action/discipline for represented employees is described in the
                 employee’s applicable collective bargaining agreement.

VI. APPENDIX F REVISION HISTORY
    First Effective Date: July 20, 2021
    Amended Effective Date: August 11, 2021 (added timeline; updated language in
    sections IV.B, V.A and V.B for clarity; added two additional examples in section V.D;
    and clarified corrective action/discipline for policy-covered staff)




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                                                                             UC COVID Vaccination Policy Compliance


  Implementation
                                                          Review Period                                               Campus Opens / Instruction Begins                   Post Campus Opening
     Deadline

                        Allowed                                                                                            Cleared
 Employee Submits       physical                  Submission                                                                 for
   Proof of Full        presence                   Approved                                                               physical
   Vaccination          with NPI                                                                                          presence


                                                                                                                          Allowed                                                      *w/ possible extension
                                                  Exception /
                                                                                                                          physical                                                     granted by
                                                    Deferral
                                                                                                                          presence                                                     Chancellor/designee
                                                   Approved
                                                                                                                          with NPI

                        Allowed                                                                                           Allowed                   Employee submits proof of              Cleared
Employee Submits                                                          Employee agrees to vaccinate and
                        physical                                                                                          physical                   full vaccination within 8               for
   Request for                                                             submits proof of first shot within
                        presence                                                                                          presence                     weeks of exception /               physical
Exception/Deferral                                                                14 calendar days
                        with NPI                                                                                          with NPI                         deferral denial                presence
                                                  Exception /
                                                   Deferral               Employee fails to submit proof of               Allowed                    Employee does not comply; receives notice of continued
                                                                                                                                                                                                                                           #:142




                                                    Denied                first shot within 14 calendar days.             physical                   non-compliance; progressive corrective action/discipline
                                                                               Receives 1st notice of non-                presence                                           begins.
                                                                            compliance and has 3 business                 with NPI                  Permitted Physical Presence for up to six weeks (with NPI)*
                                                                          days to provide proof of first shot.

                                                                            Employee does not comply;                     Allowed                   Employee fails to submit proof of first shot within 14 days.
                                                                             receives 2nd notice of non-                  physical                   Receives notice of continued non-compliance; progressive
                                                                          compliance and 14 calendar days                 presence                              corrective action/discipline begins.
                                    Employee                                to submit proof of first shot                 with NPI                  Permitted Physical Presence for up to six weeks (with NPI)*
                                   receives 1st
 Employee Neither                   notice of
                       Allowed                                                                                            Allowed                                                          Cleared
  Submits Proof of                     non-             Allowed
                       physical                                                Employee submits proof                     physical                   Submission                              for
  Vaccination nor                  compliance           physical
                       presence                                                  of full vaccination                      presence                    Approved                            physical
Requests Exception /                and has 3           presence
                       with NPI                                                                                           with NPI                                                        presence
     Deferral                        business           with NPI
                                      days to
                                      comply                                                                              Allowed
                                                                                                                                                                                          Allowed
                                                                                                                          physical                   Exception /
                                                                                Employee applies for                                                                                      physical
                                                                                                                          presenca                     Deferral
                                                                                Exception / Deferral                                                                                      presence
                                                                                                                           e with                     Approved
                                                                                                                                                                                          with NPI
                                                                                                                             NPI
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